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                                                                                                        EXHIBIT 03

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                                                                                                    •ADMITTED IN WASHINGTON




                                                 July 17, 2023


      VIA EMAIL ONLY

      Ms. Christelle Samson
      Vice-Consule
      French Consulate
      christelle.samson@diplomatie.gouv.fr


               Re:     Arnaud Paris and Heidi Brown

      Dear Ms. Samson:

              I am an attorney in Oregon. I represent Mr. Arnaud Paris in his ongoing custody
      dispute with the mother of his children, Ms. Heidi Brown. The matter is pending in the
      Circuit Court for the State of Oregon in the County of Jackson, case number
      22DR 17285. There is also a companion case in the same county under case number
      23DR08269. That case involves the registration and enforcement of the French
      custody judgment that Mr. Paris obtained in April of this year.

              Mr. Paris has asked me to write to you to advise you of the status of the matters
      pending in Oregon. At this point in time, there is a motion to dismiss Ms. Brown's
      custody and parenting time claims on the basis that Oregon lacks subject matter
      jurisdiction to make that determination. We have made several court appearances on
      that motion, and we return to court tomorrow for another full day of hearing. It is doubtful
      that the case will be resolved tomorrow but I recommended to Mr. Paris that considering
      the proximity of this hearing, it would be helpful to attend it tomorrow in person since he
      is supposed to finish testifying on the witness stand. Nevertheless, you should know
      that at the close of the hearing last week, the judge indicated that if we do not finish
      dealing with his case at the hearing tomorrow, the matter will probably be scheduled for
      further proceedings in September.

            I also wish to advise you that at this point, the court in Oregon has not
      determined if it has subject matter jurisdiction to make a custody ruling, and to date it
      has not made any such determination.




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        Furthermore, Mr. Paris has registered his French judgment in Oregon. According
to Oregon law, it is effective upon registration. Having said that, you should be aware
that Ms. Brown has filed an objection to the registration, and that objection is being
heard simultaneously with the motion to dismiss her custody proceedings. But there is
nothing in Oregon law that says that an objection to a registration that is already
effective is suspending the effectiveness of such French judgement.

             Please do not hesitate to contact me if you have any questions.

                                                                                        Sincerely,

                                                                    SCHULTE, ANDERSON, DOWNES,
                                                                      ARONSON & BITTNER P.C.




                                                                                Thomas A. Bittner

TAB:jip
cc:    olivier-antoine.reynes@diplomatie.gouv.fr
       terence. richoux@trx-legal.com
       anthony. bedoussac@diplomatie.gouv.fr
       Arnaud Paris via email




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